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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

TAMIKA DALTON,

                   Plaintiff,

       v.                                            Case No. 1:23-cv-01793

SWEET HONEY TEA, INC.,

                   Defendant.


                         MOTION TO WITHDRAW AS COUNSEL

       NOW COMES Plaintiff, Tamika Dalton and Nathan C. Volheim, counsel for Plaintiff,

moving to withdraw Franklin Jara, Esq. (“Mr. Jara”), as counsel for Plaintiff. In support thereof,

Sulaiman Law Group, Ltd. states as follows:

       1.      Mr. Jara was formerly one of Plaintiff’s attorneys in this matter.

       2.      Mr. Jara is no longer employed with the firm Sulaiman Law Group, Ltd.

       3.      Plaintiff will continue to be represented by attorney Chad Eisenback and Nathan

C. Volheim.

       WHEREFORE, Plaintiff, respectfully requests the Court enter an order permitting Mr. Jara

to withdraw as counsel of record for Plaintiff; and grant such other relief as this Court deems just

and proper.

       Dated this 13th day of November, 2023.

                                              /s/ Nathan C. Volheim
                                              NATHAN C. VOLHEIM, ESQ.
                                              IL Bar No.: 6302103
                                              SULAIMAN LAW GROUP LTD.
                                              2500 S. Highland Avenue, Suite 200
                                              Lombard, Illinois 60148



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                                              Fax (630) 575 - 8188
                                              nvolheim@sulaimanlaw.com
                                              Attorney for Plaintiff

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY, that on this 13th day of November, 2023, I caused a true and

correct copy of the foregoing to be mailed via U.S. mail to all parties of record.

                                              /s/ Nathan C. Volheim
                                              NATHAN C. VOLHEIM, ESQ.




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